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  The terms of the Interim Order on Motion to Appoint a Chapter 11
  Trustee (ECF No. 60) are not superseded by this order. This is a
  final order.

  The relief described hereinbelow is SO ORDERED.

  Signed July 09, 2015.


                                                      __________________________________
                                                                   Ronald B. King
                                                        Chief United States Bankruptcy Judge



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

  IN RE:                                         §
                                                 §           CHAPTER 11 CASE
  PRIMERA ENERGY, LLC,                           §
         DEBTOR                                  §           CASE NO. 15-51396-cag
                                                 §

          ORDER GRANTING MOTION TO APPOINT A CHAPTER 11 TRUSTEE

         On this day came on to be considered the Motion of Frederick Patek, Geraldine

  Patek, Jim Gregory, Cal Curtner, Lisa Simpson, Jasper Campise, Karen Smith, William

  Crawford, Mike Covington, Marc Keese, Mike Mcpherson, Ed Mcpherson, Wesley Crow, Dieter

  Jansen, Quackenbush Petroleum, James Reiley, Betty Reiley, Rick Reiley, Greg Shilts, Jana

  Shilts, Vincent J. Gillette, Marjorie A. Gillette, Thomas J. Gillette, Edward A. Gillette, Sharon

  Walls And Buddy Walls and On Behalf of All Other Similarly Situated Investors Of Defendants'

  "Screaming Eagle", "Montague Legacy" And "Buda Well" Investments (collectively referred to

  as “Investors”), to Appoint a Chapter 11 Trustee (the “Motion”). After considering the

  Motion, the Court has determined that good and sufficient cause exists and the Motion

  should be granted. It is therefore

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         ORDERED that pursuant to 11 U.S.C. § 1104(d), the United States Trustee, after

  consultation with the parties in interest, shall appoint, subject to this Court’s approval,

  one disinterested person to serve as Chapter 11 Trustee.

         IT IS SO ORDERED.

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  Submitted by:

  David S. Gragg
  Natalie F. Wilson
  Langley & Banack, Inc.
  745 E. Mulberry, Suite 900
  San Antonio, TX 78212
  Telephone: (210) 736-6600




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